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                    7

                    8                                    UNITED STATES DISTRICT COURT
                    9                                             DISTRICT OF ARIZONA
                   10

                   11   Jade Solis, A Single Woman; Rachel                             No. 4:10-CV-484-TUC-DCB
                        Corella, Individually and on behalf of her
                   12   minor children JS and MS; Geraldo                              DEFENDANT BRIDGESTONE
                        Quiroz, a single man; Justo SOLIS, a                           AMERICAS, INC.'S AND
                   13   single man;                                                    BRIDGESTONE AMERICAS TIRE
                                                                                       OPERATIONS LLC'S MOTION IN
                   14                      Plaintiffs,                                 LIMINE TO LIMIT EXPERT
                                                                                       TESTIMONY OF DENNIS CARLSON
                   15             vs.                                                  AND FOR RULE 104(a) HEARING
                   16   Bridgestone Corporation, a Japanese                            (Assigned to Hon. David Bury)
                        corporation; Bridgestone Americas, Inc., a
                   17   Nevada corporation; Bridgestone Americas
                        Tire Operations, LLC, a Delaware limited
                   18   liability company; Wal-Mart Stores Inc. a
                        Delaware corporation; John Does I-V; Jane
                   19   Does I-V; ABC Corporations I-V; XYZ
                        Partnerships I-V, Inc., Inclusive;
                   20
                                           Defendants.
                   21

                   22            Defendant Bridgestone Americas Tires Operations, LLC ("Bridgestone Americas"),
                   23   formerly known as Bridgestone Firestone North American Tire, LLC, hereby moves the
                   24   Court in limine to exclude certain opinions of plaintiffs' tire expert, Dennis Carlson,
                   25   pursuant to the standards established by Daubert and Federal Rule of Evidence 702.
                   26   Carlson proposes to offer a host of design and manufacturing defect opinions addressed to
                   27   the tire at issue, which have widely varying degrees of support and legitimacy. Bridgestone
                   28   Americas does not request the wholesale exclusion of Carlson as a witness, nor does it
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                    1   address all of his questionable opinions in this motion. Instead, this motion addresses only
                    2   the weakest and most ill-founded opinions Carlson has disclosed. These are:
                    3            1.        Carlson's Inadequate Testing Opinion;
                    4            2.        Carlson's Belt Joint Defect Opinion;
                    5            3.        Carlson's Skim Stock Aging Defect Opinion; and
                    6            4.        Carlson's Nylon Cap Ply Opinion.
                    7            These opinions are unreliable, unsupported by valid methodology, and must be
                    8   excluded. The simple facts are that Carlson cannot identify any legitimate foundation for
                    9   these opinions, nor can he describe a logical or accepted process by which he arrived at
                   10   them. The opinions are untested, without peer support, and contradicted by other available
                   11   evidence. This Motion is supported by the following Memorandum of Points and
                   12   Authorities and the Court's file, incorporated herein by reference.
                   13                        MEMORANDUM OF POINTS AND AUTHORITIES
                   14   I.       PLAINTIFFS' TIRE EXPERT DENNIS CARLSON
                   15            This motion focuses on the foundation and methodology by which Carlson's
                   16   opinions were formed. His qualifications are not directly in issue. But Carlson's
                   17   background is relevant to evaluating the context in which his proposed trial testimony has
                   18   been developed. See, e.g., Joiner v. General Electric Co., 78 F.3d 524, 532 (11th Cir.
                   19   1996); Hopkins v. Dow Corning Corp., 33 F.3d 1116, 1125 (9th Cir. 1994). The facts show
                   20   that the opinions at issue are not legitimate expert work product, but are instead only
                   21   result-oriented advocacy.
                   22            Carlson was the "tire expert" whose exclusion was affirmed by the United States
                   23   Supreme Court in the Kumho Tire Co. v. Carmichael decision. 526 U.S. 137 (1999).
                   24   Beyond the Kumho Tire decision, Carlson is no stranger to court rulings, including
                   25   decisions in this District, limiting or criticizing his testimony as is illustrated in the
                   26   collection of orders and opinions attached hereto as Exhibit 1. See Moore v. The Goodyear
                   27   Tire & Rubber Co., 2011 U.S. Dist. LEXIS 59403 (N.D. Tex. Jun. 2, 2011) (Court finds,

LEWIS              28   "A less scientific approach to arriving at a design defect opinion would be hard to
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                    1   imagine" in excluding Carlson's cap ply defect opinion); Siegel v. Sears, Roebuck & Co.,
                    2   No. 98-6097-CIV-UUB (S.D. Fla. Mar. 5, 1999) (Court finds Carlson's manufacturing
                    3   defect theory unsupported and the remainder of his opinions "scant, highly speculative,
                    4   and ultimately unconvincing"); Carver v. Uniroyal, Inc., (unpublished), (Cal. Ct. App.
                    5   Nov. 15, 1999) (Court finds "little basis" for Carlson's qualifications to render conclusions
                    6   about rubber compounding and rubber bonding during the manufacturing process).
                    7            Moreover, as other orders and opinions in Exhibit 1 demonstrate, various courts
                    8   have also called into question his litigation tactics. One court sanctioned Carlson, noting
                    9   that his testimony was "inherently suspect" and "not credible," with "heavy reliance upon .
                   10   . . hedging, 'weasel-worded' responses." Griego v. Michelin, No. CV 496-87, at 65, (S.D.
                   11   Ga. Dec. 10, 1998). Another court required him to be redeposed, due to his evasive and
                   12   unresponsive testimony. Carr v. Cooper Tire & Rubber Co., No. 02-0151-CV, (25th Jud.
                   13   Dist. Tex. July 6, 2004). Yet another sanctioned him for his repeated misuse of protected
                   14   materials. Nevil v. Ford Motor Co., 1999 WL 1338625 (S.D. Ga. 1999).
                   15            The fact of the matter is that Carlson is a full-time litigation consultant who can
                   16   only be characterized as a professional witness.1 Carlson has not been an employee of any
                   17   tire company since 1987, when he left Michelin Americas Research & Development
                   18   Corporation (MARC), a time at which his supervisor negatively reviewed his performance
                   19
                        1
                   20     The opinions here, and the methodologies and reasoning behind them, were conceived and born in
                        Carlson's litigation activities. The Daubert case law expresses significant skepticism toward methodologies
                   21   generated and employed exclusively in litigation. See, e.g., Johnson v. Manitowoc Book Trucks, Inc., 484
                        F.3d 426, 429 (6th Cir. 2007); Smelser v. Norfolk S. Ry. Co., 105 F.3d 299, 303 (6th Cir. 1997) (noting that
                   22   the conclusions reached independent of litigation provide "important, objective proof that the research
                        comports with good science"); Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995)
                   23   (on remand), cited in Fed. R. Evid. 702, advisory committee's notes (finding that "one significant fact [to be
                        considered in the admissibility analysis] is whether the experts are proposing to testify about matters
                   24   growing naturally and directly out of research they have conducted independent of the litigation, or whether
                        they have developed their opinions expressly for purposes of testifying") (emphasis added); Indiana Ins.
                   25
                        Co. v. Valmont Elec., Inc., 2001 WL 1823587, *6 n.5 (S.D. In. 2001) (recognizing that whether the
                   26   opinions were developed for purposes of litigation is a relevant factor for the court to consider, and casting
                        doubt on such expert testimony); United Phosphorus, Ltd. v. Midland Fumigant, Inc., 173 F.R.D. 675, 679–
                   27   87 (D. Kan. 1997) (where expert's opinions were developed for the purpose of testifying and he
                        acknowledged that he developed the methodology "on his own," court held that expert's opinions failed to
                   28   satisfy the reliability standard set forth in Daubert).
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                    1   and deemed him ineligible for rehire consideration. (See Deposition of Dennis Carlson
                    2   dated March 27, 2012, at pp. 20-21, relevant portions attached hereto as Exhibit 2). In the
                    3   early 1990's, Carlson decided to focus his career on testifying as an expert against tire
                    4   manufacturing companies. (See id. at pp. 18-19). Carlson admits that he has not been
                    5   personally involved in any tire design or manufacturing activities for over twenty years.
                    6   (See id. at p. 22). He admits that for the past decade or more, 100% of his consulting work
                    7   has been spent serving as an expert in litigation-related matters, and in those matters he
                    8   works for plaintiffs more than 95% of the time. (See id. at pp. 24-25).
                    9   II.      THE DAUBERT ISSUES
                   10            The Supreme Court's decision in Daubert v. Merrell Dow Pharmaceuticals, Inc.,
                   11   509 U.S. 579 (1993), emphasized that Federal Rule of Evidence 702 requires trial courts to
                   12   serve as evidentiary "gatekeepers" who must conscientiously screen expert testimony for
                   13   relevance and reliability. This requires that the court ensure that such testimony constitutes
                   14   "good science," Id. at 593, and that expert findings are sufficiently "derived by the
                   15   scientific method" or otherwise "supported by appropriate validation." Id. at 590.
                   16            There is no question that the dictates of Daubert apply strongly and directly to the
                   17   opinions at issue. In the subsequent decision of Kumho Tire Co. v. Carmichael, 526 U.S.
                   18   137 (1999), the Court abolished the distinction between scientific and technical evidence
                   19   previously recognized by some courts and held that the opinions of a tire expert merited
                   20   Rule 702 scrutiny.
                   21            The opinions addressed in this motion plainly must pass the reliability and validity
                   22   tests of Rule 702. Regardless of Kumho Tire, these opinions are obviously about science
                   23   and invoke scientific principles. Mr. Carlson claims to follow the scientific method in his
                   24   tire analysis activities. (See Exhibit 2 at p. 11). Each of the opinions at issue purports to
                   25   address a cause and effect relationship between certain physical or mechanical conditions
                   26   and the failure of the tire. Such relationships must depend upon scientific principles and
                   27   methodology that can be tested and which, if valid and reliable, can be peer reviewed and

LEWIS              28   gain acceptance in a relevant scientific or technical community. Absent such testing and
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                    1   acceptance, the opinions must be viewed as scientifically unsound and unreliable. Such is
                    2   the case here.
                    3            In assessing the validity of an expert theory or technique, the Supreme Court in
                    4   Daubert and Kumho Tire set forth a non-exclusive four factor test to be used in evaluating
                    5   the admissibility of expert testimony: (1) Whether the theory can be and has been tested.
                    6   (2) Has the theory been subjected to peer review and publication? (3) What is the known or
                    7   potential rate of error? (4) Is the theory generally accepted? Daubert, 509 U.S. at 593–95;
                    8   Kumho Tire, 526 U.S. at 149–50; see Johnson v. Manitowoc Book Trucks, Inc., 484 F.3d
                    9   426, 429 (6th Cir. 2007). The simple fact is that when measured against these factors, or
                   10   any other indicia of reliability, the Carlson opinions addressed here do not pass muster.
                   11            A.        The Opinions at Issue
                   12                       1.    Inadequate Testing
                   13                       In his expert report, Carlson opined that the subject tire was "defective in
                   14   design as it was inadequately tested." (See Report of Denis Carlson dated February 29,
                   15   2012, attached hereto as Exhibit 3). The report, however, provided no basis or evidentiary
                   16   support for such a contention. And at his deposition, Carlson essentially abandoned the
                   17   opinion. He admits that his claim is not based on any information regarding the actual
                   18   testing performed by Bridgestone on its Dueler tires. (See Exhibit 2 at pp. 77-78). In fact,
                   19   Carlson concedes that he has not seen those test results and doesn't even know what
                   20   testing was performed on the subject tire:
                   21                       Q.    So is it fair to say you don't know specifically what testing
                   22                             Bridgestone does and relies upon with regard to tire aging and
                   23                             tire age resistance?
                   24                       A.    Well, I don't know what was done on this specific tire.
                   25                       ***
                   26                       Q.    As you sit here today, with regard to that opinion you are not
                   27                             relying on any specific test results that you believe show an

LEWIS              28                             inadequacy in results?
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                    1                      A.     Correct.
                    2                      Q.     Okay. So what you are really saying is there's more
                    3                             information that you'd like to have and evaluate?
                    4                      A.     Largely, yes.
                    5   (See id. at pp. 78-81).
                    6            Carlson claims to be generally aware of the types of tests that can be performed,
                    7   but again he doesn't know if those tests were performed here and, if they were, what the
                    8   results were. (See id.). He also acknowledges that he has information from other cases
                    9   that Bridgestone does, in fact, conduct appropriate tests for pertinent issues, such as aging
                   10   resistance. (See id.).
                   11            Ultimately, Carlson is unable to offer his testing opinion with any certainty. Half-
                   12   formed, unsupported opinions such as this, based only on speculation and guesswork,
                   13   have no place at trial. California ex. Rel. Brown v. Safeway, Inc., 615 F.3d 1171, 1181 n.4
                   14   (9th Cir. 2010) ("'An expert's opinions that are without factual basis and are based on
                   15   speculation or conjecture' are inadmissible at trial . . . .") (quoting Major League Baseball
                   16   Properties, Inc. v. Salvino, Inc., 542 F.3d 290, 311 (2d Cir. 2008).
                   17                      2.     Belt Joint Defect
                   18                      Carlson claims that a "joint" or splice in the tire's steel belt is defective,
                   19   however, his belt joint opinion is supported by none of the Daubert indicia of reliability.
                   20   (See Exhibit 1, p. 150). Carlson acknowledges that he has never personally conducted any
                   21   testing of the effect of belt joints in the allegedly defective condition he identifies. (See id.
                   22   at p. 151). Carlson could not identify a single peer-reviewed paper that supports his
                   23   opinion that a so-called "dog-eared" belt splice can cause a tread belt separation. (See id. at
                   24   pp. 152-53). Indeed, the only published testing that Carlson is aware of is actually contrary
                   25   to his opinion. (See id. at pp. 151-52).
                   26            And when asked to identify the community of experts who generally accept his belt
                   27   joint opinion, Carlson simply identified four individuals who, like him, make their living

LEWIS              28   testifying against tire companies. But he then admitted:
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                    1                      Q.   Now outside of those people that have testified against tire
                    2                            companies for a living, can you identify any tire science
                    3                            group, tire technology group that has indicated the general
                    4                            acceptance of the proposition that a condition of that
                    5                            magnitude is a cause of tread/belt separation?
                    6                      A.   No.
                    7   (See id. at pp. 151-54).
                    8            In a futile attempt to salvage his belt joint opinion, Carlson purported to possess
                    9   certain knowledge that other tire companies' specifications indicate that this type of joint
                   10   condition would be somehow unacceptable in their tires. However, when pressed, Carlson
                   11   refused to produce or specifically identify those specifications, saying he "saw some in
                   12   open court," but is not allowed to discuss them in any detail and can't bring them to show
                   13   the jury in this case because they "are all under Protective Order."2 (See id. at p. 150).
                   14            Carlson's clear objective is to suggest, "I know what your competitors do, and what
                   15   you do is inferior." But there is no factual support for such an inference and no admissible
                   16   basis for such a conclusion. More importantly, there is no way for a defendant to refute
                   17   what Carlson alludes to when it has been unable to even probe his knowledge of the
                   18   subject and any limitation to that knowledge. It is improper for Carlson to bolster his
                   19   credibility by veiled reference to a certain breadth of knowledge and then refuse to discuss
                   20   that information in detail.
                   21                      3.    Skim Stock Aging Defect
                   22                      Carlson includes among his defect contentions a claim that the skim stock
                   23   rubber that coats the steel belts of the subject tire was defective in its aging resistance. His
                   24   methodology behind that conclusion involves his subjective observation that the tire
                   25   exhibited excessive "cracking" in the skim stock and on the sidewall. Not only is Carlson's
                   26

                   27   2
                          Carlson acknowledges that he "do[esn't] know one way or another whether [the joint] is outside of
                   28   Bridgestone's specifications for belt joints." (See Exhibit 2 at p. 151).
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                    1   aging resistance defect theory unrecognized by the scientific community, but his
                    2   methodology for identifying this alleged "defect" is entirely without support:
                    3                      Q.   Okay. Now, in your evaluation of this cracking we talked
                    4                           about earlier in the skim stock of the tire, did you use any
                    5                           external standard to evaluate the extent of that cracking?
                    6                      A.   No.
                    7                      Q.   Is there any external standard existing to evaluate that nature
                    8                           of that cracking?
                    9                      A.   No.
                   10                      Q.   So it's a subjective evaluation on your part?
                   11                      A.   I would say so.
                   12   (See id. at pp. 156-57).
                   13            Carlson essentially concludes that the cracking "defect" he observed in the subject
                   14   tire is caused either by excessive air permeation through the tire's inner liner or an
                   15   inadequate antidegradant package in the rubber compound. However, he isn't able to
                   16   conclude which of these alleged defects is causative of the cracking appearance in the
                   17   subject tire, and concedes that "stress risers" could also be responsible for the appearance.
                   18   (See id. at p. 157).
                   19            To address aging degradation in a tire's skim stock, tire manufacturers will employ a
                   20   particular package of antidegradant chemicals during the rubber compounding and mixing
                   21   processes. Carlson has opined that in addition to cracking, his other criteria from which he
                   22   concludes that the antidegradant package employed is inadequate is the presence of
                   23   "fretting corrosion" in the belts. (See Deposition of Dennis Carlson in Rosenthal v. Ford
                   24   Motor Company, et al. taken March 28, 2006 and March 28, 2008, at p. 450, attached
                   25   hereto as Exhibit 4). However, Carlson found no fretting corrosion in the tire here:
                   26                      Q.   Okay. Now, did you observe any evidence of fretting
                   27                           corrosion in this tire?
                   28
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                    1                      A.    There's corrosion in the belts that we have here. I don't
                    2                            remember fretting corrosion, but there was corrosion.
                    3                      Q.    All right. So did you reach a conclusion one way or another
                    4                            about whether there was fretting corrosion in there or not?
                    5                      A.    I don't recall any, no.
                    6   (See Exhibit 2 at p. 156).
                    7            In addition to the admitted lack of physical evidence, Carlson also has no
                    8   information or testing of his own upon which to base his skim defect methodology:
                    9                      Q.    Have you ever done any aging testing of Bridgestone Dueler
                   10                            tires?
                   11                      A.    No.
                   12                      ***
                   13                      Q.    Have you ever done any inner liner permeation testing of any
                   14                            Bridgestone Dueler tires?
                   15                      A.    No.
                   16                      ***
                   17                      Q.    Mr. Carlson, have you ever done any inner liner permeation
                   18                            testing of any Bridgestone brand tire?
                   19                      A.    No.
                   20                      Q.    Have you ever done any inner liner performance testing of
                   21                            any Bridgestone brand tire?
                   22                      A.    No.
                   23                      Q.    Have you ever done any air retention testing of any
                   24                            Bridgestone brand tire?
                   25                      A.    No.
                   26                      Q.    Have you ever done any aging tests of any components of any
                   27                            Bridgestone brand tire?

LEWIS              28                      A.    No.
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                    1   (See id. at pp. 85-87).
                    2            Carlson purports to offer the opinion that the antidegradant package used in the
                    3   subject tire was defective, however, at deposition he conceded that he is simply unable to
                    4   support that opinion:
                    5                      Q.   Are you critical of the antidegradant package in the belt skim
                    6                           stock of this tire?
                    7                      A.   Just as - - I was hoping to get the specs on that, but I haven't
                    8                           gotten them yet, so I'm not sure I can make an opinion about
                    9                           that.
                   10                      Q.   So you don't have an opinion about that as you sit here today,
                   11                           correct?
                   12                      A.   No. Indications are that it aged prematurely, but I can't tell
                   13                           you the percentage from the inner liner or the antidegradant
                   14                           package or the stress risers.
                   15   (See id. at p. 157).
                   16            Tire rubber compounds are developed by chemists and tire compounders. But
                   17   Carlson is neither a chemist nor a rubber compounder. (See id. at pp. 157-58). He has no
                   18   experience as a tire compounder either for Michelin or any other steel-belted radial tire
                   19   manufacturer. (See id. at p. 158). Moreover, Carlson has never designed or formulated the
                   20   rubber compound formula or skim stock formula for any steel-belted radial tire. (See id.).
                   21   He was actually kept away from the Michelin rubber compound formulas while at MARC
                   22   and never saw the complete rubber compound formula for any of Michelin's tires. (See id.
                   23   at pp. 158-59).
                   24            Though Carlson proposes to offer an opinion on the subject tire's aging resistance,
                   25   he is simply not qualified to opine regarding the antidegradant/aging resistance in the
                   26   subject tire. First, he has never conducted an evaluation of an antidegradant package or
                   27   designed an antidegradant package in a steel-belted radial tire. (See id. at pp. 157-59).

LEWIS              28   Second, the experience he does have with MARC is irrelevant because he does not know
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                    1   the antidegradant package used in Michelin tires while he was there. (See id. at pp. 158-
                    2   59). It was never his job to determine the type or levels of antidegradants for any rubber
                    3   compound in a steel-belted radial tire. (See id.). Third, Carlson has never personally tested
                    4   or analyzed the antidegradant package in any steel-belted radial tire at all, in order to
                    5   determine its effect on tire durability. (See id.).
                    6            With all that as a backdrop, it is no wonder that Carlson has had a very similar
                    7   antidegradant opinion excluded by a federal court in Mississippi. (See Ruling on Cooper
                    8   Tire's Motion for Summary Judgment in Bradley, et al. v. Cooper Tire & Rubber Co., et
                    9   al. (D. Miss. Aug. 27, 2007) at p. 11, attached hereto as Exhibit 5).
                   10                      4.    Nylon Cap Ply
                   11                      In the final opinion addressed by this motion, Carlson provides his standard
                   12   opinion that the subject tire is defective in design because it does not incorporate a
                   13   component called a nylon cap ply. He has offered this opinion many times and against
                   14   many tire manufacturers, including Firestone, Cooper Tire, Continental General Tire,
                   15   Goodyear, and possibly Hankook and Kumho. (See Exhibit 2 at pp. 266-67). As he
                   16   acknowledges, no standard in the world suggests or requires the use of nylon cap plies.
                   17   (See Exhibit 4 at p. 141). Instead, this opinion that cap plies are necessary arises only in
                   18   Carlson's litigation consulting. (See Deposition of Dennis Carlson in Wands v. Bridgestone
                   19   Firestone taken October 29, 2008, at p. 168, attached hereto as Exhibit 6).
                   20            Carlson admits that not all steel-belted radial tires without a nylon cap ply are
                   21   defective, and even that not all tires without a nylon cap ply that sustain tread/belt
                   22   detachments are defective. (See id. at p. 143; Deposition of Dennis Carlson in Clark v.
                   23   Bridgestone Firestone, et al. taken January 18, 2010, at p. 238, attached hereto as Exhibit
                   24   7). He also concedes that the opposite is true: cap plies do not completely prevent
                   25   tread/belt separations and that tires with nylon cap plies can be defective and unreasonably
                   26   dangerous. (See Exhibit 4 at pp. 146–47; Deposition of Dennis Carlson in Vargas v.
                   27   Bridgestone Firestone, et al. taken April 24, 2007, at p. 297, attached hereto as Exhibit 8).

LEWIS              28   In fact, he has seen tires with nylon cap plies fail catastrophically before the tread wore
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                    1   out, including failure of the sidewall, the bead area, and by tread/belt separation and
                    2   detachment as in this case. (See Exhibit 8 at pp. 306–07). For instance, one Uniroyal
                    3   Goodrich tire with a nylon cap ply that he has seen sustained a tread/belt separation and
                    4   detachment, and he testified that the tire was defective. (See id. at pp. 288–89). Indeed, he
                    5   testified that another Uniroyal tire with two nylon cap plies was defective in design. (See
                    6   id. at p. 289). Carlson testified that he has seen Yokohama, Kumho Tire, Toyo, and
                    7   Dunlop tires that contained one or even two nylon cap plies, but still sustained tread/belt
                    8   separations and were, according to him, defectively designed. (See id. at 289–97).
                    9            Though Carlson has testified regarding his nylon cap ply opinion on many
                   10   occasions since, when he was actually still in the tire industry with MARC, he never
                   11   expressed the opinion that a Michelin tire was defective because it did not contain a nylon
                   12   cap ply, even though not all Michelin steel-belted radial tires used a cap ply. (See id. at p.
                   13   270). Still, he never communicated his nylon cap ply defect opinion to the National
                   14   Highway Traffic Safety Administration or to Ford Motor Company while at MARC,
                   15   though Michelin sold tires without cap plies to Ford. (See id. at pp. 278–79).
                   16            Carlson's nylon cap ply theory is truly based solely upon his own subjective,
                   17   litigation-born belief that cap plies are beneficial. He has never done any field tests with
                   18   tires with nylon cap plies. (See id. at p. 276). He has never done any impact testing of tires
                   19   with nylon cap plies. (See id. at p. 301). He has never done overdeflection testing of tires
                   20   with nylon cap plies. (See id. at p. 302). Carlson has never tested steel-belted radial tires
                   21   with nylon cap plies to see if they experience tread/belt separations and detachments. (See
                   22   id. at p. 277). He has never done any testing or scientific study to determine what effect, if
                   23   any, a nylon cap ply would have in prolonging tire failure. (See id. at p. 330).
                   24            As is the case with his skim stock opinion, Carlson proposes to offer a nylon cap
                   25   ply opinion, but is wholly unqualified to do so. He has absolutely no background or
                   26   training in the design or manufacturing of a steel-belted radial tire incorporating a nylon
                   27   cap ply. (Deposition of Dennis Carlson in Hernandez v. Bridgestone Firestone, et al. taken

LEWIS              28   September 10, 2008 and October 14, 2008, at p. 138, attached hereto as Exhibit 9). Carlson
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                    1   has never built a tire with a nylon cap ply, designed any tire incorporating a nylon cap ply,
                    2   or even prepared a design specification or drawing for a tire with a nylon cap ply. (See id.
                    3   at pp. 138–39; Exhibit 8 at p. 270). Of the tires he did help design while at MARC, he
                    4   acknowledges none of those had cap plies. (See Exhibit 8 at p. 277). Still, he does not
                    5   believe any of those tires were defective for failing to incorporate a nylon cap ply. (See id.)
                    6   During his time at MARC, Carlson never analyzed a tire's design to determine whether it
                    7   was defective without a nylon cap ply. (See Exhibit 9 at pp. 233-34). He was never
                    8   personally involved in testing tires with nylon cap plies at MARC, and since leaving in
                    9   1987, he has not done any testing regarding nylon cap plies, including any comparative
                   10   testing of tires with and without nylon cap plies. (See Exhibit 8 at p. 276). Thus, he must
                   11   concede that his nylon cap ply opinion is not based on any testing he has personally
                   12   performed, either at MARC or since he left. (See Exhibit 4 at 139; Exhibit 8 at pp. 276–
                   13   77).
                   14            Just last year, the United States District Court for the Northern District of Texas
                   15   excluded Carlson's identical cap ply opinion in a tire defect case against Goodyear. Moore
                   16   v. The Goodyear Tire & Rubber Co., 2011 U.S. Dist. LEXIS 59403 (N.D. Tex. Jun. 2,
                   17   2011). After a thorough explanation of Carlson's cap ply opinion and all bases therefore,
                   18   the Court concluded, "A less scientific approach to arriving at a design defect opinion
                   19   would be hard to imagine." Id. at *10-*13. During his deposition in that case, "Carlson
                   20   acknowledged that there was no methodology that would support his nylon overlay
                   21   opinion." Id. at *13.
                   22            In another recent tire failure case, the United States District Court for the Western
                   23   District of Texas also recognized the lack of reliable support for this very nylon cap ply
                   24   opinion when it refused to permit the plaintiff's designated tire expert to offer it at trial
                   25   against Michelin:
                   26                      Notwithstanding his admission as a tire expert, Osborne may not
                                           offer expert testimony regarding his theory on 'nylon cap ply.' In
                   27                      stark contrast to his other statements, Osborne supplies no
                                           evidentiary basis to support his contention that all tires lacking a
LEWIS              28                      'nylon cap ply' harbor a design defect. Rather, this testimony
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                    1                      echoes the caution of prior holdings concerning 'leaping from an
                                           accepted scientific premise to an unsupported one.'
                    2
                        Vigil v. Michelin N. Am., Inc., 2007 WL 2778233, at *6 (W.D. Tex. Aug. 23, 2007).3
                    3
                                 Carlson's conclusory cap ply opinion in this case suffers from the same
                    4
                        inadequacies as his excluded opinion in Moore v. Goodyear and the opinions barred in
                    5
                        Vigil, McCool, Smith and Cruz – it is unsupported by any independent testing, any
                    6
                        objective technical or scientific analysis or principles, or any logical process. It is based
                    7
                        only on conjecture and should similarly be excluded from the trial in this case.
                    8
                                 B.        The Unreliability of the Opinions at Issue
                    9
                                 Whether expert opinion testimony is supported by an adequate basis and is
                   10
                        admissible is a matter of law to be determined by the trial judge. Johnson v. Manitowoc
                   11
                        Book Trucks, Inc., 484 F.3d 426, 429 (6th Cir. 2007); see Hayes v. MTD Products, Inc.,
                   12
                        518 F. Supp. 2d 898, 899 (W.D. Ky. 2007). When faced with a proffer of expert testimony,
                   13
                        Federal Rules of Evidence 702 and 104(a) require that the district court determine at the
                   14
                        outset whether the reasoning or methodology underlying the testimony satisfies the
                   15
                        Daubert test. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 (1993); Sigler v.
                   16
                        American Honda Motor Co., 532 F.3d 469, 478 (6th Cir. 2008); Nelson v. Tennessee Gas
                   17
                        Pipeline Co., 243 F.3d 244, 250 (6th Cir. 2001). The first issue to be resolved in
                   18
                        determining the admissibility of expert testimony is whether the proffered testimony is
                   19
                        "scientific knowledge." Daubert, 509 U.S. at 592–93; see Pride v. BIC Corp., 218 F.3d
                   20
                        566, 577 (6th Cir. 2000). This task requires that the trial court consider whether the
                   21

                   22   3
                          See also Cruz v. Bridgestone/Firestone North American Tire, LLC, 2008 WL 5598439 (D. N.M. August
                        29, 2008); Smith v. The Goodyear Tire & Rubber Company, 495 F.3d 224 (5th Cir. 2007); McCool v.
                   23   Bridgestone/Firestone N. Am. Tire, LLC, 222 Fed. Appx. 847 (11th Cir. 2007). In McCool, plaintiffs'
                        designated expert had performed over 3,000 failure analyses on tires, but not a single test related to his
                   24   nylon cap ply theory. The district court found that the expert's methodology was "not sufficiently reliable as
                        determined by the sort of inquiry mandated by Daubert" because his "theory concerning the nylon cap ply
                   25
                        defect has not been tested, and has not been subject to peer review and publication." Id. at 854. The
                   26   Eleventh Circuit affirmed the district court and noted that "[t]he absence of any documentary evidence,
                        such as peer-reviewed articles or scientific studies or testing, is a particularly glaring omission given that
                   27   [the witness] conducted no studies or testing of his own and had never published his nylon cap ply theory
                        for peer review." Id. at 856. Like the designated expert witnesses in McCool, in this case, Carlson is
                   28   proffering an opinion that is subjective and conclusory and, therefore, unreliable and inadmissible.
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                    1   testimony has been subjected to the appropriate methodology, as opposed to mere
                    2   subjective belief or unsupported speculation. Fed. R. Evid. 702; Demarre v. Toyota Motor
                    3   Corp., 37 F. Supp. 2d 959, 961 (W.D. Ky. 1999) ("An expert opinion that is based on
                    4   scientifically valid principles will satisfy Fed. R. Evid. 702; an expert's subjective belief or
                    5   unsupported speculation will not"). "[A] key question to be answered . . . will be whether
                    6   [a theory] can be (and has been) tested." Daubert, 509 U.S. at 593; see also United States
                    7   v. Bynum, 3 F.3d 769, 773 (4th Cir. 1993), cert. denied, 510 U.S. 1132 (1994) (scientific
                    8   knowledge "is generated through the scientific method – subjecting testable hypotheses to
                    9   the crucible of experiment in an effort to disprove them"). When inquiring into the
                   10   reliability of the expert's testing, the court should also view "testimony prepared solely for
                   11   purposes of litigation . . . with some caution" and then "apply the Daubert factors with
                   12   greater rigor." Johnson v. Manitowoc Boom Trucks, Inc., 484 F.3d 426, 434–35 (6th Cir.
                   13   2007).
                   14            The basic object of Daubert is to "ensure that the testimony has a 'basis in the
                   15   knowledge and experience of' the expert's discipline and that the expert exhibits 'the same
                   16   level of intellectual rigor" expected of an expert outside of the courtroom.'" Multimatic,
                   17   Inc. v. Faurecia Interior Sys. USA, Inc., 358 Fed. App. 643, 654 (6th Cir. 2009) (quoting
                   18   Kumho Tire, 526 U.S. at 152). One district court noted that "[e]xperts cannot float their
                   19   conclusions on cushions of air; they must rest those conclusions upon foundations built
                   20   from reliable scientific explanation." Navarro v. Fuji Heavy Industries, Ltd., 925 F. Supp.
                   21   1323, 1328 (N.D. Ill. 1996), aff'd, 117 F.3d 1027 (7th Cir.), cert. denied, 118 S. Ct. 600
                   22   (1997).
                   23            Other courts have likewise recognized that expert conclusions are not to be accepted
                   24   simply because "an expert says it is so." See Viterbo v. Dow Chem. Co., 826 F.2d 420, 424
                   25   (5th Cir. 1987); see also Merrell Dow Pharmaceuticals, Inc. v. Havner, 953 S.W.2d 706,
                   26   712 (Tex. 1997). When the expert "br[ings] to court little more than his credentials and a
                   27   subjective opinion," this is not evidence that would support a judgment. Viterbo, 826 F.2d

LEWIS              28   at 421. The Viterbo court affirmed summary judgment and the exclusion of expert
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                    1   testimony that was unreliable, holding that "[i]f an opinion is fundamentally unsupported,
                    2   then it offers no expert assistance to the jury." Id. at 422; see J.B. Hunt Transp. Inc. v.
                    3   General Motors Corp., 243 F.3d 441, 444 (8th Cir. 2001) ("Expert testimony that is
                    4   speculative is not competent proof and contributes nothing to a legally sufficient
                    5   evidentiary basis."); Turpin v. Merrell Dow Pharmaceuticals, Inc., 959 F.2d 1349, 1360
                    6   (6th Cir. 1992) (holding evidence legally insufficient in pharmaceutical case when no
                    7   understandable scientific basis was stated).
                    8            The United States Supreme Court enunciated the same principle in General Electric
                    9   Co. v. Joiner:
                   10                      [N]othing in either Daubert or the Federal Rules of Evidence
                                           requires a district court to admit opinion evidence which is
                   11                      connected to existing data only by the ipse dixit of the expert. A
                                           court may conclude that there is simply too great an analytical
                   12                      gap between the data and the opinion proffered.
                   13   522 U.S. 136, 146 (1997); see Nelson v. Tennessee Gas Pipeline Co., 243 F.3d 244, 254
                   14   (6th Cir. 2001). The essential failing of the opinions at issue here is that they show no
                   15   adherence to such standards. The unreliability of Carlson's reasoning and methodology, as
                   16   well as any opinions resulting from them, are obvious. They are not rooted in testing,
                   17   accepted principles, or any form of peer review. They are, in fact, flatly contradicted by
                   18   other data as well as by the opinions of others in the field.
                   19            Carlson's opinions here are of exactly the type condemned by the Supreme Court in
                   20   Kumho Tire. Carlson's methods and resulting conclusions here, like those he espoused in
                   21   Kumho Tire, are standardless and subjective. See Kumho Tire, 526 U.S. at 154–57. As in
                   22   Kumho Tire, there is no validation of Carlson's approach or indication that it is generally
                   23   accepted by the community of tire experts. Id. at 157.
                   24            Courts have not hesitated to exclude expert testimony concerning alleged tire
                   25   defects under Daubert where the expert testimony is not reliable. See, e.g., Kumho Tire Co.
                   26   v. Carmichael, 526 U.S. 137 (1999); Moore v. Goodyear Tire & Rubber Co., 2011 U.S.
                   27   Dist. LEXIS 59403 (N.D. Tex. 2011); Smith v. Goodyear Tire & Rubber Co., 495 F.3d 224

LEWIS              28   (5th Cir. 2007); McCool v. Bridgestone/Firestone N. Am. Tire, LLC, 222 Fed. Appx. 847,
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                    1   2007 WL 761 804 (11th Cir. 2007); Allen v. LTV Steel Co., No. 02-4094, 2003 WL
                    2   21461633 (7th Cir. June 17, 2003); Williams v. Michelin N. Am., Inc. 381 F. Supp. 2d 1351
                    3   (M.D. Fla. 2005); Hauck v. Michelin N. Am., Inc., 343 F. Supp. 2d 976 (D. Colo. 2004);
                    4   Rivera-Pomales v. Bridgestone/Firestone, Inc., 217 F.R.D. 290 (D.P.R. 2003); Prince v.
                    5   Michelin N. Am., Inc., 248 F. Supp. 2d 900 (W.D. Mo. 2003); Diviero v. Uniroyal
                    6   Goodrich Tire Co., 919 F. Supp. 1355 (D. Ariz. 1996), aff'd, 114 F.3d 851 (9th Cir. 1997);
                    7   Meyerhoff v. Michelin Tire Corp., 852 F.Supp. 933 (D. Kan. 1994), aff'd, 70 F.3d 1175
                    8   (10th Cir. 1995); Cooper Tire & Rubber Co. v. Mendez, 204 S.W.3d 797 (Tex. 2006);
                    9   Goodyear Tire & Rubber Co. v. Rios, 143 S.W.3d 107 (Tex. App. 2004); Mitchell v.
                   10   Uniroyal Goodrich Tire Co., 666 So.2d 727 (La. Ct. App. 1995); Clement v. Griffin, 634
                   11   So.2d 412 (La. Ct. App. 1994).
                   12            The speculative and unsupported opinions that Carlson attempts to offer in this
                   13   litigation suffer from the same shortcomings as those stricken above. The opinions are
                   14   untested, without peer support among any recognized community of tire experts, and
                   15   contradicted by other available evidence which Carlson either ignored or failed to
                   16   consider. Moreover, the opinions lack a legitimate foundation and Carlson is unable to
                   17   describe any logical process by which he arrived at them. In short, the opinions lack any
                   18   of the validation mandated by Daubert and, thus, they contribute "nothing to a legally
                   19   sufficient evidentiary basis." J.B. Hunt Transp. Inc., 243 F.3d at 444. Carlson's defect
                   20   opinions must be excluded.
                   21   III.     RULE 104(a) HEARING
                   22            Bridgestone Americas believes that the evidence set forth in this memorandum and
                   23   exhibits overwhelmingly supports granting the Daubert aspects of this motion. However,
                   24   should the Court have any doubt that the unreliability and inadequacy of the opinions at
                   25   issue is fully demonstrated in this memorandum and its exhibits, Bridgestone Americas
                   26   requests that the Court conduct a 104(a) hearing to inquire further into the specific
                   27   opinions at issue here.
                   28
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                    1            Federal Rule of Evidence 104(a) provides that "Preliminary questions concerning
                    2   the qualifications of a person to be a witness . . . shall be determined by the court . . . ."
                    3   Fed. R. Evid. 104(a). Rule 104 then specifies that "Hearings on . . . preliminary matters
                    4   shall be so conducted when the interests of justice require . . . " Fed. R. Evid. 104(c).
                    5   While the decision to conduct a Rule 104(a) hearing lies within the discretion of the trial
                    6   court, Kumho Tire instructs that a hearing is appropriate in "more complex cases where
                    7   cause for questioning the expert's reliability arises." Kumho Tire, 526 U.S. at 152.
                    8   IV.      CONCLUSION
                    9            Carlson's testimony and opinions at issue in this motion are unsupported, unreliable
                   10   and lacking in foundation in science or any validated methodology. These opinions should
                   11   be excluded.
                   12            DATED this 16th day of November, 2012.
                   13                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                   14

                   15                                            By     s/ Robert C. Ashley
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                   18
                               I hereby certify that on November 16, 2012, I electronically transmitted this
                   19
                        document to the Clerk's office using the ECF System for filing and transmittal of a Notice
                   20   of Electronic Filing to the following ECF registrants:

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